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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

     EDWARD KOPELSON                   : No.
                                       :
                        Plaintiff,     :
            v.                         :
                                       :
     ICON PARKING SYSTEMS, LLC         :
                                   and :
     RENAISSANCE PARKING, LLC          :  COMPLAINT
                                       :
                         Defendants :


                                PRELIMINARY STATEMENT

  Edward Kopleson (the “Plaintiff”), by and through his counsel, brings this lawsuit against

  Icon Parking Systems, LLC (“Defendant Icon”) and Renaissance Parking, LLC

  (“Defendant Renaissance”), seeking all available relief under the New Jersey Law Against

  Discrimination and the Americans with Disabilities Act for the Defendants’ failure to

  comply with both Acts’ accessibility requirements. Plaintiff is seeking injunctive relief

  under the Americans with Disabilities Act to require the Defendants to remove the

  accessibility barriers which exist at their parking facility. Plaintiff is also seeking

  compensatory relief under the New Jersey Law Against Discrimination.                  The

  allegations contained herein are based on personal experience of the Plaintiff.
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                                    I. JURISDICTION

  1. This action is brought pursuant to the Americans with Disabilities Act of 1990

     (“ADA”), 42 U.S.C. § 12101 et seq., and the New Jersey Law Against Discrimination

     (“NJLAD”) N.J.S.A. 10:5-1, et. seq.

  2. This civil controversy arises under the laws of the United States, and jurisdiction in

     conferred upon this District Court, pursuant to 28 U.S.C. §1331.

  3. This Court has supplemental jurisdiction to entertain the State law cause of action under

     28 U.S.C. § 1367(a).

                                   II. VENUE

  4. All actions complained of herein took place within the jurisdiction of the United States

     District Court for the District of New Jersey.

  5. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                                  III. PARTIES

  6. The Plaintiff is an adult male who currently resides in Essex County, New Jersey.

  7. Defendant Icon is a Delaware limited liability company registered in that State with a

     file number of 3139020.

  8. Defendant Renaissance is a foreign limited liability company registered with the New

     Jersey Division of Revenue and Enterprise Services under entity identification number

     0600055039.

  9. There are no listings for Defendant Icon on website for the New Jersey Division of

     Revenue and Enterprise Services.

  10. The listed registered agent for Defendant Icon is United Corporate Services, Inc., 874

     Walker Road, Suite C, Dover, Delaware 19904.
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                                        IV. STATEMENT OF FACTS

  The Defendants’ Parking Facility

  11. The Defendants own and/or operate a parking lot and parking garage located at 111

         Mulberry Street, Newark, New Jersey 07102 (the “Parking Facility”).1

  12. The Defendants’ Parking Facility is a place of public accommodation.

  13. For a fee, an individual can park his or her vehicle at the Parking Facility.

  14. Upon information and belief, the Parking Facility has in excess of four hundred (400)

         parking spaces.

  15. The Parking Facility consists of a surface lot and a parking garage with multiple levels.

  16. The Parking Facility is valet only.

  17. The Parking Facility’s surface lot has no parking spaces that are designated as being

         reserved for use by individuals with disabilities.

  18. The Parking Facility’s garage has no parking spaces that are designated as being

         reserved for use by individuals with disabilities.

  19. The Parking Facility has parking attendants who valet park the customers’ vehicles.

  The Plaintiff

  20. The Plaintiff is an individual with a disability within the meaning of the ADA and

         NJLAD.

  21. Because of a spinal cord injury, the Plaintiff is unable to walk.

  22. For mobility, the Plaintiff uses a power wheelchair.

  23. The Plaintiff possesses a license plate issued by the State of New Jersey which indicates

         that he is an individual with a disability.



  1
      https://iconparkingsystems.com/facility/renaissance
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  24. The Plaintiff’s license plate permits him to park his vehicle in spaces that are designated

     as reserved for individuals with disabilities.

  25. The Plaintiff’s vehicle has an automatic fold-out ramp which allows him to enter his

     vehicle while seated in his wheelchair.

  26. The Plaintiff operates his vehicle while seated in his power wheelchair, which he

     positions directly in front of the steering wheel.

  27. The Plaintiff’s vehicle is equipped with hand controls to operate the vehicle’s braking

     and acceleration systems, in lieu of a gas pedal and foot brake.

  28. Plaintiff periodically travels in the area, and parks his vehicle in parking lots, parking

     garages, and streets.

  29. On or about October 6, 2017, when the Plaintiff attempted to patronize the Parking

     Facility, the Parking Facility’s attendant would not allow him to self-park his vehicle.

  30. The Parking Facility was unwilling to accommodate the Plaintiff because of its valet-

     only parking policy and its failure to provide any accessible parking spaces for

     individuals with disabilities.

  31. The Plaintiff is deterred from future use of the Parking Facility by the Parking Facility’s

     refusal to accommodate him and by the lack of parking spaces designated as being

     reserved for use by individuals with disabilities.

                THE NEW JERSEY LAW AGAINST DISCRIMINATION

  32. The NJLAD provides that “[a]ll individuals shall have the opportunity to obtain all

     the accommodations, advantages, facilities, and privileges of any place of public

     accommodation” without discrimination on the basis of disability. N.J.S.A. 10:5-4.
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  33. In interpreting the NJLAD in disability discrimination claims, “federal law has

     consistently been considered for guidance.” Borngesser v. Jersey Shore Med.

     Ctr., 340 N.J. Super. 369, 380 (App. Div. 2001).

  34. The NJLAD prohibits discrimination on the basis of a disability. N.J.S.A. 10:5-12(a).

  35. Under the NJLAD, “’disability’ means physical disability, infirmity, malformation or

     disfigurement which is caused by bodily injury, birth defect or illness including

     epilepsy and other seizure disorders, and which shall include, but not be limited to, any

     degree of paralysis, amputation, lack of physical coordination, blindness or visual

     impediment, deafness or hearing impediment, muteness or speech impediment or

     physical reliance on a service or guide dog, wheelchair, or other remedial appliance or

     device, or any mental, psychological or developmental disability, including autism

     spectrum disorders, resulting from anatomical, psychological, physiological or

     neurological conditions which prevents the normal exercise of any bodily or mental

     functions or is demonstrable, medically or psychologically, by accepted clinical or

     laboratory diagnostic techniques.” N.J.S.A. 10:5-5(q)(a).

  36. The   New    Jersey Administrative      Code      provides   examples   of   reasonable

     accommodations, which include, “[p]roviding accessible entrances, walks and

     sidewalks, curb ramps and other interior or exterior pedestrian ramps, clear floor paths

     through lobbies, corridors, rooms, and other areas, parking access aisles, and accessible

     elevators and lifts.” N.J.A.C. 13:13–4.12(a)(8).

  37. Under the NJLAD, it shall be an unlawful discrimination for any owner, lessee,

     proprietor, manager, superintendent, agent, or employee of any place of public

     accommodation directly or indirectly to refuse, withhold from or deny to any person
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     any of the accommodations, advantages, facilities or privileges thereof, or to

     discriminate against any person in the furnishing thereof. N.J.S.A. 10:5-12.

  38. The NJLAD is intended to insure that individuals with disabilities will have ‘full and

     equal access to society, limited only by physical limitations they cannot overcome’”

     Franek v. Tomahawk Lake Resort, 333 N.J. Super. 206, 217 (App. Div. 2000).

  39. Under the NJLAD, damages are available for "[t]he personal hardships include:

     economic loss; time loss; physical and emotional stress; and in some cases severe

     emotional trauma, illness, homelessness or other irreparable harm resulting from the

     strain of employment controversies; relocation, search and moving difficulties; anxiety

     caused by lack of information, uncertainty, and resultant planning difficulty; career,

     education, family and social disruption; and adjustment problems, which particularly

     impact on those protected by this act." N.J.S.A. 10:5-3.

                    THE AMERICANS WITH DISABILITIES ACT

  40. Congress enacted the ADA in 1990 with the purpose of providing “[a] clear and

     comprehensive national mandate for the elimination of discrimination against

     individuals with disabilities” and “[c]lear, strong, consistent, enforceable standards

     addressing discrimination against individuals with disabilities.” 42 U.S.C. § 12101(b).

  41. The ADA provides a private right of action for injunctive relief to “any person who is

     being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).

  42. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

     substantially limits one or more major life activities of such individual; (B) a record of

     such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

     § 12102(1).
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  43. Title III of the ADA provides that “[n]o individual shall be discriminated against on

        the basis of disability in the full and equal enjoyment of the goods, services, facilities,

        privileges, advantages, or accommodations of any place of public accommodation by

        any person who owns, leases (or leases to), or operates a place of public

        accommodation.” 42 U.S.C. § 12182.

  44. “It shall be discriminatory to afford an individual or class of individuals, on the basis

        of a disability or disabilities of such individual or class, directly, or through contractual,

        licensing, or other arrangements with the opportunity to participate in or benefit from

        a good, service, facility, privilege, advantage, or accommodation that is not equal to

        that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

  45. A “public accommodation” are private entities whose operations affect commerce. 42

        U.S.C. § 12181(7).

  46. “Facility” means all or any portion of buildings, structures, sites, complexes,

        equipment, rolling stock or other conveyances, roads, walks, passageways, parking

        lots, or other real or personal property, including the site where the building, property,

        structure, or equipment is located. 28 C.F.R. § 35.104.

  Accessible Parking under the ADA

  47. The ADA sets forth the following requirements for accessible parking spaces for

        individuals with disabilities:2


        Total Number of Parking Spaces Provided              Minimum Number of Required
                  in Parking Facility                         Accessible Parking Spaces

                            1 to 25                                           1
                           26 to 50                                           2
                           51 to 75                                           3

  2
      https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
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                          76 to 100                                            4
                         101 to 150                                            5
                         151 to 200                                            6
                         201 to 300                                            7
                         301 to 400                                            8
                         401 to 500                                            9
                                                              2% of the total number of parking
                        501 to 1000
                                                                             spaces
                                                            20, plus 1 for each 100 parking spaces
                       More than 1001
                                                                           over 1000

  48. ADA regulations state that one in every six accessible parking spaces for individuals

      with disabilities must be van accessible.3

  Valet Parking

  49. The requirement to have parking spaces that are reserved for individuals with

      disabilities also applies to parking facilities that offer valet parking.

  50. In addition to having parking spaces that are designated as being reserved for

      individuals with disabilities, parking facilities that provide valet parking services are

      also required to have an accessible passenger loading zone.4

  51. The passenger loading zone must be located on an accessible route to the entrance of

      the facility.5

  Accessible Routes under the ADA

  52. The path a person with a disability takes to enter and move through a facility is called

      an "accessible route."6

  53. Accessible routes must connect parking spaces to accessible entrances.7


  3
    Id.
  4
    https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
  5
    https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
  standards/background/adaag#4.6.6
  6
    http://www.ada.gov/regs2010/titleII_2010/title_ii_primer.html
  7
    https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
  standards/chapter-5-general-site-and-building-elements
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  54. Exterior accessible routes include parking access aisles, curb ramps, crosswalks at

      vehicular ways, walks, ramps, and lifts.8

  55. ADA accessibility standards require that accessible parking spaces in parking garages

      be located on the shortest accessible route from adjacent parking to the accessible

      entrance of the building.9

  Signage and the ADA

  56. The ADA standards require the use of the International Symbol of Accessibility (ISA)

      to identify parking spaces which are reserved for use by individuals with disabilities.10


                                               COUNT I –

            FAILURE TO PROVIDE ACCESSIBLE PARKING SPACES FOR
                      INDIVIDUALS WITH DISABILITIES

  57. All preceding paragraphs are hereby incorporated by reference as if fully set forth

      herein.

  58. The United States Supreme Court recognized the term “major life activities” includes

      walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

  59. The major life activity that the constitutes the Plaintiff’s disability is his inability to

      walk.

  60. On the Parking Facility’s surface lot, the Defendants failed to provide any parking

      spaces which were reserved for use by individuals with disabilities for passenger cars.




  8
    https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
  standards/background/adaag#3. MISCELLANEOUS
  9
    http://www.ada.gov/adata1.pdf
  10
     https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
  standards/background/adaag#4.1
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   61. On the Parking Facility’s surface lot, the Defendants failed to provide any van-

      accessible parking spaces which were reserved for use by individuals with disabilities.

   62. In the Parking Facility’s garage, the Defendants failed to provide any parking spaces

      which were reserved for use by individuals with disabilities for passenger cars.

   63. In the Parking Facility’s garage, the Defendants failed to provide any van-accessible

      parking spaces which were reserved for use by individuals with disabilities.

   64. The Parking Facility’s failure to provide any parking spaces which were reserved for

      use by individuals with disabilities has created an accessibility barrier for the Plaintiff,

      and other similarly situated disabled individuals.

   65. The Defendants can remedy their non-compliance with the ADA’s parking

      requirements by designating available parking spaces as being reserved for use by

      individuals with disabilities.

   66. The Defendants have discriminated against the Plaintiff by their failure to comply with

      the accessibility requirements of the ADA and the NJLAD.

   67. The Defendants’ failure to comply with the ADA and the NJLAD has created a

      hardship for the Plaintiff.

   WHEREFORE, Plaintiff seeks injunctive relief to require the Defendants to comply with

   the Americans with Disabilities Act and the New Jersey Law Against Discrimination,

   together with costs and mandatory attorneys’ fees under as provided by both statutes,

   compensatory damages under the New Jersey Law Against Discrimination, and such other

   legal and equitable relief from Defendants as the Court deems just and proper.
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                                         COUNT II -

     FAILURE TO PROVIDE AN ACCESSIBLE PASSENGER LOADING ZONE

   68. All preceding paragraphs are hereby incorporated by reference as if fully set forth

      herein.

   69. The Parking Facility’s surface lot does not have any marked accessible passenger

      loading zones.

   70. The Parking Facility’s garage does not have any marked accessible passenger loading

      zones.

   71. The Parking Facility’s failure to comply with the parking accessibility requirements of

      the ADA and the NJLAD has created an accessibility barrier for the Plaintiff, and other

      similarly situated disabled individuals.

   72. The Defendants can remedy their non-compliance with the parking requirements of the

      ADA and the NJLAD by creating an accessible passenger loading zone.

   73. The Defendants’ failure to comply with the ADA and the NJLAD has denied the

      Plaintiff the full and equal enjoyment of the parking offered by the Parking Facility.

   74. The Defendants have discriminated against the Plaintiff by their failure to comply with

      the ADA and the NJLAD.

      WHEREFORE, Plaintiff seeks injunctive relief to require the Defendants to comply

      with the Americans with Disabilities Act and the New Jersey Law Against

      Discrimination, together with costs and mandatory attorneys’ fees under as provided

      by both statutes, compensatory damages under the New Jersey Law Against

      Discrimination, and such other legal and equitable relief from Defendants as the Court

      deems just and proper.
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                                          COUNT III -

                   FAILURE TO PROVIDE AN ACCESSIBLE ROUTE

   75. All preceding paragraphs are hereby incorporated by reference as if fully set forth

      herein.

   76. The Parking Facility’s surface lot does not have any marked accessible routes leading

      to the sidewalk bordering the property.

   77. The Parking Facility’s garage lot does not have any marked accessible routes leading

      outside of the parking structure.

   78. The Parking Facility’s failure to comply with the parking accessibility requirements of

      the ADA and the NJLAD has created an accessibility barrier for the Plaintiff, and other

      similarly situated disabled individuals.

   79. The Defendants can remedy their non-compliance with the parking requirements of the

      ADA and the NJLAD by creating marked accessible route for individuals with

      disabilities to use when entering and exiting the Parking Facility.

   80. The Defendants’ failure to comply with the ADA and the NJLAD has denied the

      Plaintiff the full and equal enjoyment of the parking offered by the Parking Facility.

   81. The Defendants have discriminated against the Plaintiff by their failure to comply with

      the ADA and the NJLAD.

   WHEREFORE, Plaintiff seeks injunctive relief to require the Defendants to comply

   with the Americans with Disabilities Act and the New Jersey Law Against

   Discrimination, together with costs and mandatory attorneys’ fees under as provided

   by both statutes, compensatory damages under the New Jersey Law Against
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      Discrimination, and such other legal and equitable relief from Defendants as the Court

      deems just and proper.


                                          COUNT IV –

        FAILURE TO COMPLY WITH THE SIGNAGE REQUIRMENTS FOR
                        ACCESSIBLE PARKING

   82. All of the preceding paragraphs are hereby incorporated by reference as if fully set

      forth herein.

   83. The Parking Facility does not have any signs which designate parking spaces as being

      reserved for individuals with disabilities.

   84. The Defendants can remedy their non-compliance by installing signs having the

      International Symbol of Accessibility to designate parking spaces as being reserved for

      individuals with disabilities.

   85. The Defendants’ failure to designate parking spaces as being reserved for individuals

      with disabilities has created a hardship for the Plaintiff.

   86. The Defendants have discriminated against the Plaintiff by their disregard of the

      requirements of the ADA and the NJLAD which require a place of public

      accommodation to designate parking spaces as being reserved for individuals with

      disabilities.

   WHEREFORE, Plaintiff seeks injunctive relief to require the Defendants to comply with

   the ADA and NJLAD, together with costs and mandatory attorneys’ fees under as provided

   by both statutes, compensatory damages under the NJLAD, and such other legal and

   equitable relief from Defendants as the Court deems just and proper.
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   Respectfully submitted,

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   Attorney for Plaintiff
   Dated: October 16, 2017

                                  CERTIFICATE OF SERVICE

   I, Franklin J. Rooks Jr., certify that I filed the Plaintiff’s Complaint via the Court’s ECF

   system.



   By: /s Franklin J. Rooks Jr.

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